       Case 1:07-cv-12359-WGY Document 88-1 Filed 03/19/10 Page 1 of 1




JAMES VALERIO, ET AL.,
         Plaintiffs,

              V.                                     CIVIL ACTION NO. 2007-12359-WGY

MARY JO FEENEY,
          Defendant.


          AMENDED REPORT RE: REFERENCE FOR
       ALTERNATIVE DISPUTE RESOLUTION TO JUDGE
COLLINGS, U.S.M.J.

       On March 19, 2010, I held the following ADR proceeding:

       ______ EARLY NEUTRAL EVALUATION ___X____ MEDIATION
       ______ MINI-TRIAL                             _______ SUMMARY JURY TRIAL
       ______ SETTLEMENT CONFERENCE


       The parties and/or their representatives were present.
[X ]   The case was NOT SETTLED. Further efforts to settle the case at this time are unlikely to be
       successful. The defendant has been urged to retain an attorney. The jury trial should be held
       as scheduled for the running trial list as of May 3, 2010.


       March 19, 2010                                        Robert B. Collings
              DATE                                           ROBERT B. COLLINGS
                                                             United States Magistrate Judge

Copy to:      Judge Young
              Yvonne Franklin
